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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

HEATHER N. NOFSKER,                  :
                                     :
             Plaintiff,              :     No. 3:20-cv-00193
                                     :
     v.                              :     (Saporito, M.J.)
                                     :
ANDREW SAUL,                         :
Commissioner of                      :
Social Security,                     :
                                     :
             Defendant.              :

                                ORDER

      AND NOW, this 12th day of January, 2021, in accordance with the

accompanying Memorandum, IT IS HEREBY ORDERED THAT:

     1.      The Clerk of Court shall enter final judgment VACATING the

decision of the Commissioner of Social Security;

     2.      This case is REMANDED to the Commissioner for further

proceedings consistent with the Memorandum filed of even date

herewith; and

     2.      The Clerk of Court shall CLOSE this case.

                                           s/Joseph F. Saporito, Jr.
                                           JOSEPH F. SAPORITO, JR.
                                           United States Magistrate Judge
Dated: January 12, 2021
